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                             UNITED STATE DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                     CIVIL ACTION NO: 1:20-CV-12192

                                                     )
  BARNSTABLE MUTUAL INSURANCE                        )
  COMPANY as subrogee of PHYLLIS and                 )
  EDWARD POWERS-PHILIE                               )
                                                     )
                Plaintiff,                           )
  V
                                                     )
  .
                                                     )
  WHIRLPOOL CORPORATION,
                                                     )
                         Defendant                   )

                      DEFENDANT WHIRLPOOL CORPORATION’S
                        ANSWER TO PLAINTIFF’S COMPLAINT

       Whirlpool Corporation (“Whirlpool”) responds to Plaintiff’s Complaint, stating as follows:

       1.      Upon information and belief, Whirlpool admits the allegations of paragraph 1 of

Plaintiff’s Complaint.

       2.      Upon information and belief, Whirlpool admits the allegations of paragraph 2 of

Plaintiff’s Complaint.

       3.      In response to the allegations of paragraph 3 of Plaintiff’s Complaint, Whirlpool

admits it is a Delaware corporation with its principal place of business is in Michigan. Whirlpool

further admits it is in the business of designing and manufacturing home appliances, including

washing machines, and that products it designs and manufactures are sold in the commonwealth

of Massachusetts. Whirlpool further admits it has been served in this lawsuit. Whirlpool denies

all remaining allegations and allegations inconsistent with these admissions.

       4.      Whirlpool lacks knowledge or information sufficient to form a belief as to the truth

of the allegations of paragraph 4 of Plaintiff’s Complaint.


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        5.      Whirlpool lacks knowledge or information sufficient to form a belief as to the truth

of the allegations of paragraph 5 of Plaintiff’s Complaint.

        6.      Whirlpool lacks knowledge or information sufficient to form a belief as to the truth

of the allegations of paragraph 6 of Plaintiff’s Complaint.

                                         JURISDICTION

        7.      The allegations of paragraph 7 of Plaintiff’s Complaint are moot, as they pertain to

the jurisdiction of the Superior Court of Barnstable County and this lawsuit has been removed to

the United States District Court for the District Court of Massachusetts.

                           PLAINTIFF’S GENERAL ALLEGATIONS

        8.       Whirlpool lacks knowledge or information sufficient to form a belief as to the truth

of the allegations of paragraph 8 of Plaintiff’s Complaint.

        9.      Whirlpool lacks knowledge or information sufficient to form a belief as to the truth

of the allegations of paragraph 9 of Plaintiff’s Complaint.

        10.     Whirlpool denies the allegations of paragraph 10 of Plaintiff’s Complaint.

        11.     Whirlpool lacks knowledge or information sufficient to form a belief as to the truth

of the allegations of paragraph 11 of Plaintiff’s Complaint.

        12.     In response to the allegations of paragraph 12 of Plaintiff’s Complaint, Whirlpool

lacks knowledge or information sufficient to form a belief as to the truth of the allegations

pertaining to Plaintiff’s legal subrogation rights. Whirlpool denies it is liable to Plaintiff for any

damages in this lawsuit.

              PLAINTIFF’S COUNT I – BREACH OF EXPRESS WARRANTY

        13.     Whirlpool incorporates its responses to all prior allegations of Plaintiff’s Complaint

as if fully set forth herein.



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        14.     Whirlpool lacks knowledge or information sufficient to form a belief as to the truth

of the allegations of paragraph 14 of Plaintiff’s Complaint.

        15.     Whirlpool lacks knowledge or information sufficient to form a belief as to the truth

of the allegations of paragraph 15 of Plaintiff’s Complaint.

        16.     Whirlpool denies the allegations of paragraph 16 of Plaintiff’s Complaint.

        17.     Whirlpool denies the allegations of paragraph 17 of Plaintiff’s Complaint.

              PLAINTIFF’S COUNT II – BREACH OF IMPLIED WARRANTY

        18.     Whirlpool incorporates its responses to all prior allegations of Plaintiff’s Complaint

as if fully set forth herein.

        19.     Whirlpool lacks knowledge or information sufficient to form a belief as to the truth

of the allegations of paragraph 19 of Plaintiff’s Complaint.

        20.     Whirlpool denies the allegations of paragraph 20 of Plaintiff’s Complaint.

                           PLAINTIFF’S COUNT III – NEGLIGENCE

        21.     Whirlpool incorporates its responses to all prior allegations of Plaintiff’s Complaint

as if fully set forth herein.

        22.     Whirlpool lacks knowledge or information sufficient to form a belief as to the truth

of the allegations of paragraph 22 of Plaintiff’s Complaint.

        23.     Whirlpool denies the allegations of paragraph 23 of Plaintiff’s Complaint.

    PLAINTIFF’S COUNT IV – UNFAIR AND DECEPTIVE BUSINESS PRACTICES

        24.     Whirlpool incorporates its responses to all prior allegations of Plaintiff’s Complaint

as if fully set forth herein.

        25.     Whirlpool admits the allegations of paragraph 25 of Plaintiff’s Complaint.

        26.      Whirlpool denies the allegations of paragraph 26 of Plaintiff’s Complaint.



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         27.     Whirlpool denies the allegations of paragraph 27 of Plaintiff’s Complaint.

         WHEREFORE, Whirlpool Corporation prays for judgment in its favor and against Plaintiff

Barnstable County Mutual Insurance Company, as subrogee of Phyllis and Edward Powers-Philie,

that Plaintiff’s Complaint be dismissed with prejudice, for costs of this action, attorneys’ fees, and

all other relief appropriate in the premises.

                                 DEMAND FOR TRIAL BY JURY

         Whirlpool demands a trial by jury.

                                    ADDITIONAL DEFENSES

         1.      Plaintiff’s Complaint fails to state a claim upon which relief can be granted.

         2.      Plaintiff has failed to mitigate its alleged damages, if any.

         3.      Plaintiff’s damages, if any, were proximately caused by the misuse, alteration,

and/or modification of the product at issue in this case. These misuses, alteration, and/or

modifications were not reasonably foreseeable.

         4.      Subject to further investigation and discovery, some or all of Plaintiff’s claims may

be limited by the applicable statutes of limitation or repose.

         5.      Whirlpool asserts that Plaintiff’s subrogors were negligent, in whole or in part,

thereby reducing or eliminating any damages owed by Whirlpool by way of comparative

negligence.

         6.      Whirlpool asserts that Plaintiff’s damages, if any, were proximately caused or

contributed by the active negligence of Plaintiff’s subrogors or through Plaintiff’s comparative

fault.

         7.      Plaintiff’s damages, if any, were proximately caused by the superseding or

intervening acts or omissions of others.



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       8.      Any claims arising from a breach of warranty or contract are barred because

Plaintiff and its insured lacked privity with Whirlpool.

       9.      Whirlpool contests the reasonableness and necessity of Plaintiff’s damages.

       10.     Plaintiff’s claims are barred by its spoliation of evidence.

       11.     Whirlpool reserves the right to supplement or modify its Affirmative Defenses as

needed or warranted by ongoing discovery and investigation in this case.

       WHEREFORE, Whirlpool Corporation prays for judgment in its favor and against Plaintiff

Barnstable County Mutual Insurance Company, as subrogee of Phyllis and Edward Powers-Philie,

that Plaintiff’s Complaint be dismissed with prejudice, for costs of this action, attorneys’ fees, and

all other relief appropriate in the premises.

Dated: December 10, 2020


                                                      The Defendant,
                                                      WHIRLPOOL CORPORATION

                                                      ____________________________
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                                                      Attorneys for Defendant
                                                      Whirlpool Corporation




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 10th day of December, 2020, a copy of the foregoing was filed

electronically. Notice of this filing will be sent to all counsel of record by operation of the Court’s

electronic filing system. Parties may access this filing through the Court’s system.

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                                                       _____________________________
                                                       Robert T. Treat




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